Case 2:20-cv-12407-PDB-APP ECF No. 32, PageID.761 Filed 07/13/21 Page 1 of 5




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE     PROPERTY    AND C.A. No. 2:20-cv-12407-PDB-APP
CASUALTY INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY; ESURANCE
INSURANCE     COMPANY;    and
ESURANCE     PROPERTY    AND
CASUALTY INSURANCE COMPANY,

                          Plaintiffs,

v.

APPLIED REHAB & PHYSICAL
THERAPY LLC d/b/a APPLIED
REHAB; ELITE CHIROPRACTIC
CENTER, P.C.; CORE HEALTH PLLC;
KALLIL KAZAN, D.C.; NAIM
KHANAFER, D.C.; and NAIEL
SALAMEH, D.C.,

                          Defendants.


    STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
DEFENDANTS APPLIED REHAB & PHYSICAL THERAPY LLC d/b/a
 APPLIED REHAB, ELITE CHIROPRACTIC CENTER, P.C., CORE
 HEALTH PLLC, KALLIL KAZAN, D.C., NAIM KHANAFER, D.C.,
               AND NAIEL SALAMEH, D.C.

     Pursuant to Fed. R. Civ. P. 41(a)(1), it is hereby stipulated and agreed by and

between plaintiffs Allstate Insurance Company, Allstate Property and Casualty

Insurance Company, Allstate Fire and Casualty Insurance Company, Esurance


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Case 2:20-cv-12407-PDB-APP ECF No. 32, PageID.762 Filed 07/13/21 Page 2 of 5




Insurance Company, and Esurance Property and Casualty Insurance Company

(hereinafter collectively referred to as “Allstate”) and defendants Applied Rehab &

Physical Therapy LLC d/b/a Applied Rehab (“Applied Rehab”), Elite Chiropractic

Center, P.C. (“Elite Chiropractic”), Core Health PLLC (“Core Health”), Kallil

Kazan, D.C. (“Kazan”), Naim Khanafer, D.C. (“Khanafer”), and Naiel Salameh,

D.C. (“Salameh”) (hereinafter collectively referred to as the “defendants”), by and

through their undersigned counsel, that Allstate’s Complaint (ECF No. 1) be

dismissed with prejudice as to the defendants without costs or fees of any kind to

any party. It is hereby agreed by the parties that this Court shall retain jurisdiction

to enforce the terms of settlement reached between the parties.

                         [SIGNATURE PAGE FOLLOWS]




                                          2
Case 2:20-cv-12407-PDB-APP ECF No. 32, PageID.763 Filed 07/13/21 Page 3 of 5




     STIPULATED AND AGREED TO THIS 12th DAY OF JULY, 2021:


Allstate Insurance Company, Allstate       Applied Rehab & Physical Therapy LLC
Property and Casualty Insurance            d/b/a Applied Rehab, Elite Chiropractic
Company, Allstate Fire and Casualty        Center, P.C., Core Health PLLC, Kallil
Insurance      Company,    Esurance        Kazan, D.C., Naim Khanafer, D.C., and
Insurance Company, and Esurance            Naiel Salameh, D.C.,
Property and Casualty Insurance
Company,

By their Attorneys,                        By their Attorneys,

/s/ Jacquelyn A. McEttrick                 /s/ Peter W. Joelson

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                                       3
Case 2:20-cv-12407-PDB-APP ECF No. 32, PageID.764 Filed 07/13/21 Page 4 of 5




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE     PROPERTY    AND C.A. No. 2:20-cv-12407-PDB-APP
CASUALTY INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY; ESURANCE
INSURANCE     COMPANY;    and
ESURANCE     PROPERTY    AND
CASUALTY INSURANCE COMPANY,

                           Plaintiffs,

v.

APPLIED REHAB & PHYSICAL
THERAPY LLC d/b/a APPLIED
REHAB; ELITE CHIROPRACTIC
CENTER, P.C.; CORE HEALTH PLLC;
KALLIL KAZAN, D.C.; NAIM
KHANAFER, D.C.; and NAIEL
SALAMEH, D.C.,

                           Defendants.


   STIPULATED ORDER OF DISMISSAL WITH PREJUDICE AS TO
  DEFENDANTS APPLIED REHAB & PHYSICAL THERAPY LLC d/b/a
   APPLIED REHAB, ELITE CHIROPRACTIC CENTER, P.C., CORE
   HEALTH PLLC, KALLIL KAZAN, D.C., NAIM KHANAFER, D.C.,
                 AND NAIEL SALAMEH, D.C.

      This matter having come before the Court upon stipulation of the parties, and

the Court being otherwise fully advised in the premises:




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Case 2:20-cv-12407-PDB-APP ECF No. 32, PageID.765 Filed 07/13/21 Page 5 of 5




      IT IS HEREBY ORDERED that plaintiffs’ causes of action against

defendants Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Elite

Chiropractic Center, P.C., Core Health PLLC, Kallil Kazan, D.C., Naim Khanafer,

D.C., and Naiel Salameh, D.C. are hereby dismissed with prejudice and without

costs to any party. The Court shall retain jurisdiction over this matter only to enforce

the terms of settlement reached between the parties.


      IT IS SO ORDERED.


Dated: July 13, 2021                           s/Paul D. Borman
                                               Hon. Paul D. Borman
                                               United States District Judge




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